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 8
                           UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
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11     UNITED STATES OF AMERICA               )   CASE NO. 20CR2887-WQH (wvg)
                                              )
12
                       Plaintiff,             )
                                                  ORDER GRANTING
13                                            )
                v.                                DEFENDANT ANTHONY
                                              )
14                                            )   DUANE BELL, SR.’S EX PARTE
                                              )   MOTION TO MODIFY
15     ANTHONY DUANE BELL, SR.                )   CONDITIONS OF PRETRIAL
16     (D1),                                  )   RELEASE
                                              )
17                                            )
                                              )
18     ______________________________
19

20
                                              ORDER

21
               GOOD CAUSE APPEARING, Defendant Anthony Duane Bell, Sr.’s Ex
22
       Parte Motion to Motion to Modify Conditions of Pretrial Release is GRANTED.
23
               Defendant’s travel restriction is modified to allow for one-time travel from
24
       San Diego, California to Fort Lauderdale, Florida, to take a family on cruise
25
       vacation aboard Celebrity Cruise Lines, which leaves on July 16, 2022 and
26
       returns on July 24, 2022. Defendant Duane Anthony Bell, Sr. is authorized to
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28
       travel by plain to Fort Lauderdale on July 14, 2022 (red-eye flight) and return
       from Fort Lauderdale, Florida on July 24, 2022.



                                                                 20CR2887-WQH-01
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 1             Pretrial Services shall made Defendant Anthony Duane Bell, Sr.’s passport
 2     available for him to retrieve by 11am on July 13, 2022. Defendant Anthony
 3     Duane Bell, Sr. must return his passport to Pretrial Services on July 25, 2022 by
 4
       11am.
 5
               IT IS SO ORDERED.
 6
              6/23/22
       Date: ______________               ______________________________
 7
                                          HON. William V. Gallo
 8                                        United States Magistrate Judge
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